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                                                                    8   Attorneys for Defendant Cristiano Ronaldo
                                                                    9                             UNITED STATES DISTRICT COURT
                                                                   10
CHRISTIANSEN LAW OFFICES




                                                                                                           DISTRICT OF NEVADA
                                                                   11
                           810 S. Casino Center Blvd., Suite 104




                                                                         KATHRYN MAYORGA,
                             702-240-7979 • Fax 866-412-6992




                                                                   12                                                   Case No. 2:19-cv-00168-JAD-CWH
                                 Las Vegas, Nevada 89101




                                                                                              Plaintiff,
                                                                   13                                                      DEFENDANT CRISTIANO RONALDO’S
                                                                         vs.                                             MOTION FOR LEAVE TO FILE MOTION TO
                                                                   14                                                    DISMISS OR TO COMPEL ARBITRATION IN
                                                                         CRISTIANO RONALDO,                                 EXCESS OF TWENTY-FOUR PAGES
                                                                   15
                                                                                              Defendant.
                                                                   16
                                                                   17
                                                                   18          Defendant Cristiano Ronaldo, through his undersigned counsel, respectfully moves this

                                                                   19   Court for leave pursuant to LR 7-3(c) to file an enlarged Motion to Dismiss Kathryn Mayorga’s

                                                                   20   Complaint (ECF No. 1) Pursuant to Fed R. Civ. P. 12(b)(6) or to Compel Arbitration, which
                                                                        exceeds the twenty-four-page limitation set forth in LR7-3(b). The requested enlargement is
                                                                   21
                                                                        necessary to thoroughly address Plaintiff’s eleven causes of action in her thirty-one-page
                                                                   22
                                                                        Complaint and to effectively set forth why Plaintiff’s Complaint should be dismissed.
                                                                   23
                                                                        Accordingly, Defendant seeks leave to file a forty-six-page Motion. As outlined in the
                                                                   24
                                                                        following Declaration of Kendelee L. Works, Esq., good cause exists for the requested
                                                                   25
                                                                        enlargement.
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                                                                    1                                                   I.
                                                                    2                       DECLARATION OF KENDELEE L. WORKS, ESQ.
                                                                    3           I, KENDELEE L. WORKS, ESQ., declare as follow:
                                                                    4           1.      I am an attorney duly licensed and admitted to practice before the courts of the
                                                                    5   state of Nevada. I am an associate at Christiansen Law Offices and one of the attorneys
                                                                    6   representing Defendant Cristiano Ronaldo in the above-captioned matter.
                                                                    7           2.      I make this declaration in support of Defendant’s Motion for Leave to File
                                                                    8   Motion to Dismiss or to Compel Arbitration in Excess of Twenty-Four Pages. Based on my
                                                                    9   review of the files and records in this case, I have personal knowledge of the contents of this
                                                                   10   declaration and could testify thereto.
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                                                                   11           3.      Plaintiff filed her thirty-one-page Complaint on January 28, 2019, and the parties
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                                                                   12   have agreed to deem Defendant effectively served. The Complaint contains eleven causes of
                                 Las Vegas, Nevada 89101




                                                                   13   action, including Battery; Intentional Infliction of Emotional Distress; Coercion and Fraud;
                                                                   14   Abuse of a Vulnerable Person; Racketeering and Civil Conspiracy; Defamation; Abuse of
                                                                   15   Process; Declaratory Relief: (1) that the settlement and non-disclosure agreement is void or
                                                                   16   voidable on the basis of incompetency, undue influence, coercion and/or fraud; (2) that the
                                                                   17   Plaintiff is excused from performance under the settlement and non-disclosure agreement due to
                                                                   18   Defendant’s breach; Negligence; and Breach of Contract.
                                                                   19           4.      The complexity and numerosity of the elements underlying Plaintiff’s eleven
                                                                   20   causes of actions and the legal authorities interpreting the same require significant analysis in
                                                                   21   order to comprehensively address each of the reasons for dismissal.
                                                                   22           5.      For example, as this Court is aware, the federal and state civil RICO statutes are
                                                                   23   extremely complex in nature and encompass numerous other claims which require a thorough
                                                                   24   examination of the law relative to each coupled with an analysis of the particular facts alleged
                                                                   25   in this case.
                                                                   26           6.      In order to effectively present Defendant’s argument, Declarant must be as
                                                                   27   thorough as possible and set forth why Plaintiff’s Complaint should be dismissed under
                                                                   28   applicable law. Declarant attempted to perform that analysis and thoroughly brief the issues


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                                                                    1   presented in as few of pages as possible. However, twenty-two (22) additional pages were
                                                                    2   required.
                                                                    3          7.     As such, Declarant requests that this Court allow her to exceed the twenty-four-
                                                                    4   page limit.
                                                                    5          8.     I declare under penalty of perjury under the laws of the United States of America
                                                                    6   that the foregoing facts are true and correct.
                                                                    7          Executed this 14th day of June, 2019, in Las Vegas, Nevada.
                                                                    8
                                                                                                                                ________________________
                                                                    9
                                                                                                                                KENDELEE L. WORKS, ESQ.
                                                                   10
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                                                                   11                                                     II.
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                                                                   12                                           CONCLUSION
                                 Las Vegas, Nevada 89101




                                                                   13          Based on the foregoing, Defendant respectfully requests that this Court permit

                                                                   14   Defendant to exceed the twenty-four-page limit mandated by Local Rule 7-3(b).

                                                                   15          DATED this 14th day of June, 2019.

                                                                   16                                                    CHRISTIANSEN LAW OFFICES

                                                                   17
                                                                                                                         By_________________________________
                                                                   18                                                      PETER S. CHRISTIANSEN, ESQ.
                                                                   19                                                      KENDELEE L. WORKS, ESQ.
                                                                                                                           KEELY A. PERDUE, ESQ.
                                                                   20                                                      Attorneys for Defendant Cristiano Ronaldo

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                                                                    1                                    CERTIFICATE OF SERVICE
                                                                    2          Pursuant to FRCP 5 and LR-5.1, I certify that I am an employee of CHRISTIANSEN
                                                                    3   LAW OFFICES, and that on this 14th day of June, 2019, I caused the foregoing document
                                                                    4   entitled DEFENDANT CRISTIANO RONALDO’S MOTION FOR LEAVE TO FILE
                                                                    5   MOTION TO DISMISS OR TO COMPEL ARBITRATION IN EXCESS OF TWENTY-
                                                                    6   FOUR PAGES to be filed and served via the Court’s CM/ECF electronic filing system upon
                                                                    7   all registered parties and their counsel.
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